










COURT OF 
APPEALS
SECOND 
DISTRICT OF TEXAS
FORT 
WORTH
&nbsp;
NO. 2-03-117-CR
&nbsp;
&nbsp; 
JESSE DON BITNER&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLANT
&nbsp; 
V.
&nbsp; 
THE STATE OF TEXAS&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;STATE
&nbsp; 
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&nbsp;
FROM THE 97TH DISTRICT COURT 
OF ARCHER COUNTY
&nbsp;
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&nbsp;
OPINION
&nbsp;
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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The 
issue before us is whether a justice of the peace who is physically outside her 
geographical jurisdiction may sign a search warrant for property located within 
her geographical jurisdiction. We conclude the answer is yes, and we affirm the 
trial court’s denial of Appellant’s motion to suppress the results of the 
search.
Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The 
relevant facts are basically undisputed by the parties. Appellant rents property 
that is located in Archer County, Texas. On February 11, 2002, James Blake, a 
peace officer with the Texas Department of Public Safety, presented a detailed 
probable cause affidavit to Archer County Justice of the Peace Jeanie Keelar 
(“the J.P.”). Officer Blake sought to have the J.P. issue a search warrant 
for the property and structures located on the property that Appellant rents in 
Archer County. When the J.P. reviewed the affidavit and subsequently signed the 
requested search warrant for the property in Archer County, she was not 
physically within her geographical jurisdiction; she was at the police 
department in Olney, Texas, which is located in Young County, Texas.1
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;As 
a result of the items seized during the search of the property Appellant rents 
in Archer County, he was charged with possession of a controlled substance, 
methamphetamine, of more than one gram and less than four grams. Appellant filed 
a motion to suppress the evidence seized as a result of the warrant, and after a 
hearing the trial court denied the motion. A jury found Appellant guilty, 
determined the enhancement allegation to be true, and assessed Appellant’s 
punishment at 20 years’ confinement.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s 
sole point on appeal is that the trial court erred in denying the motion to 
suppress. Appellant contends the search warrant is invalid because the J.P. 
signed the warrant at a time when she was physically outside her geographical 
jurisdiction.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The 
State responds that the search warrant is valid because the J.P. did not purport 
to improperly usurp the authority of another jurisdiction when she issued the 
search warrant, which was issued for and executed upon property that was within 
the J.P.’s geographical jurisdiction. The State contends that the fact that 
she was physically not within her geographical jurisdiction at the time she 
signed the search warrant is irrelevant.
Discussion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Article 
18.01 of the code of criminal procedure relates to issuance of search warrants 
and provides, in pertinent part: 
(a) 
A “search warrant” is a written order, issued by a magistrate and directed 
to a peace officer, commanding him to search for any property or thing and to 
seize the same and bring it before such magistrate.
&nbsp;
Tex. Code Crim. Proc. Ann. art. 18.01(a) (Vernon Supp. 2004). A 
justice of the peace (“J.P.”) is a “magistrate” within the meaning of 
article 18.01.&nbsp; Id. art. 2.09.&nbsp; Article 2.10 specifies the duty 
of magistrates: 
It 
is the duty of every magistrate to preserve the peace within his jurisdiction by 
the use of all lawful means; to issue all process intended to aid in preventing 
and suppressing crime; to cause the arrest of offenders by the use of lawful 
means in order that they may be brought to punishment.
&nbsp;
Id. 
art. 2.10 (Vernon 1977).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The 
jurisdiction of a J.P., when acting as a magistrate, is coextensive with the 
limits of that J.P.’s county. Ex parte Clear, 573 S.W.2d 224, 228 (Tex. 
Crim. App. 1978) (orig. proceeding); Gilbert v. State, 493 S.W.2d 783, 
784 (Tex. Crim. App. 1973). The State agrees that a J.P. cannot exercise her 
judicial authority outside the geographical limits of her jurisdiction. See 
Gilbert, 493 S.W.2d at 784; Green v. State, 880 S.W.2d 198, 200-01 
(Tex. App.—Texarkana 1994, no pet.). However, the State asserts that the J.P. 
in the case at bar exercised her judicial authority inside the geographical 
limits of her jurisdiction because the subject of the search warrant was 
property located within Archer County, and the search warrant was in fact 
executed in Archer County.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In 
support of his assertion that the search warrant is invalid, Appellant directs 
us to several cases that stand for the proposition that a J.P. may not exercise 
judicial authority outside the geographical limits of the J.P.’s jurisdiction. 
See Brown v. State, 118 S.W. 139 (Tex. Crim. App. 1909); Stewart v. 
Smallwood, 102 S.W. 159 (Tex. Civ. App. 1907, no writ). We find the facts of 
Brown and Stewart to be distinguishable from the instant case 
because in the cited cases the magistrate purported to exercise judicial 
authority over property or persons that were located outside the magistrate’s 
geographical jurisdiction. See Brown, 118 S.W. at 140-44 (holding 
J.P. is not authorized to go into neighboring precinct, where there is a 
qualified resident J.P., and hold a court of inquiry in the neighboring 
precinct); Stewart, 102 S.W. at 160 (holding that former statute 
conferred authority upon J.P. to perform duties of absent J.P. in nearest 
neighboring precinct but did not confer power upon J.P. to go to absent J.P.’s 
precinct to perform these duties; statute contemplated that the duties must be 
performed in the precinct of substituting J.P.). In the case before us, the J.P. 
exercised judicial authority over property that was located within the J.P.’s 
geographical jurisdiction; the J.P. did not attempt to exercise judicial 
authority over property that was located outside the J.P.’s geographical 
jurisdiction.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant 
contends that when the J.P. reviewed the affidavit and signed the search 
warrant, this constituted “a de facto and de jure examining 
court,” equivalent to an “examining trial” or “court of inquiry,” and 
that the signing of the search warrant had to be done by the J.P. within the 
geographical limits of her jurisdiction. Appellant relies upon article 2.11 
which is entitled “Examining Court” and provides: ”When the magistrate 
sits for the purpose of inquiring into a criminal accusation against any person, 
this is called an examining court.” Tex. Code Crim. Proc. Ann. art. 2.11 (Vernon 1977). Appellant 
equates the J.P.’s action in signing the search warrant to a “court of 
inquiry” or an “examining trial,” both of which would have to be held 
within the J.P.’s geographical jurisdiction.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We 
disagree that the issuance of a search warrant by a magistrate is the equivalent 
to a court of inquiry or an examining court or an examining trial. A court of 
inquiry can no longer be conducted by a J.P.; only a district judge may conduct 
a court of inquiry under article 52.01. Id. art. 52.01 (Vernon Supp. 
2004).2&nbsp; One type of examining trial is held by 
a magistrate after a search warrant is executed by the peace officer and 
returned to the magistrate.&nbsp; Tex. Code Crim. Proc. Ann. arts. 18.10, 18.11 (Vernon Supp. 
2004), arts. 18.12-.14 (Vernon 1977).&nbsp; Upon return of a search warrant, the 
magistrate shall determine whether there was good ground for the issuance of the 
search warrant.&nbsp; Id. arts. 18.12-.14.&nbsp; Another type of 
examining trial is permitted by article 16.01, which states that “The 
accused in any felony case shall have the right to an examining trial before 
indictment in the county having jurisdiction of the offense.”&nbsp; Id. 
art. 16.01 (Vernon Supp. 2004) (emphasis added).&nbsp; At the time the Archer 
County J.P. in the case before us signed the search warrant, no charges had been 
filed against anyone; consequently, there was no ”accused” as referenced in 
article 16.01.&nbsp; See Brown, 118 S.W. at 144 (“[A] defendant is not 
accused until he has been charged with an offense, and he cannot be tried until 
he has been arrested, and therefore a magistrate cannot sit as an examining 
court, or conduct an examining trial, until he has the party under arrest and 
before him.”).&nbsp; Therefore, we find unpersuasive Appellant’s argument 
that the J.P. in the instant case was conducting the equivalent of a court of 
inquiry or examining court or examining trial when she signed the search warrant 
at issue.
Conclusion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We 
hold that Archer County Justice of the Peace Jeanie Keelar was authorized to 
sign the search warrant for property located in Archer County even though she 
personally was outside her geographical jurisdiction when she signed the search 
warrant. The search warrant was executed in Archer County and returned to Archer 
County Justice of the Peace Jeanie Keelar. We overrule Appellant’s sole point 
and affirm the judgment of the trial court.

&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DIXON 
W. HOLMAN
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICE

&nbsp;
PANEL 
B:&nbsp;&nbsp;&nbsp;LIVINGSTON, DAUPHINOT, and HOLMAN, JJ.
&nbsp;
PUBLISH
&nbsp;
DELIVERED: April 1, 2004


NOTES
1.&nbsp; 
Officer Blake used the facilities of the Olney police department to type his 
affidavit. When he contacted the J.P. on her cell phone, she was in her car 
traveling between different locations and was able to stop by the Olney police 
department to review the affidavit and sign the search warrant.
2.&nbsp; 
See also Ex parte Smith, 383 S.W.2d 401, 403 (Tex. Crim. App. 1964) 
(orig. proceeding) (upholding constitutionality of former statute that 
authorized J.P. to conduct court of inquiry).



